Case 1:20-cv-08924-CM Document 1033 Filed 06/01/23 Page 1 of 1

 

 

 

 

 

 

 

 

 

AFFIDAVIT OF SERVICE
State of New York County of Southern District Of New York United States District Court Court
Index Number: 1:20-CV-08924
Plaintiff DCS2023002891
JARRETT PAYNE; ANDIE MALI, CAMILA GINI; VIDAL GUZMAN; VIVIAN MATTHEW KING-

YARDE; CHARLIE MONLOUIS-ANDERLE; JAMES LAUREN; MICAELA MARTINEZ; JULIAN
PHILLIPS; NICHOLAS MULDER AND COLLEEN MCCORMACK-MAITLAND

vs.

Defendant:

MAYOR BILL DE BLASIO; CHIEF OF DEPARTMENT TERENCE MONAHAN; CITY OF NEW
YORK; COMMANDING OFFICER OF PATROL BOROUGH BRONX, CHIEF KENNETH LEHR;
SERGEANT MAJER SALEH; OFFICER BRYAN S. ROZANSKI; OFFICER JAKUB TARLECKI;
SERGEANT KEITH CHENG; OFFICER MATTHEW TARANGELO; OFFICER STEPHANIE CHEN;
OFFICER TAYLOR CORCORAN; OFFICER MATTHEW L. PERRY; DETECTIVE DAMIAN RIVERA;
OFFICER BRYAN PiZZIMENTI; OFFICER JOSEPH DECK; LIEUTENANT MICHAEL BUTLER;
OFFICER AARON HUSBANDS; SERGEANT THOMAS E. MANNING; ET AL.

For:

NEW YORK CIVIL LIBERTIES UNION
125 Broad Street

19th Floor

New York, NY 10004

Received by Delta Court Service DCA#2094792-DCA on the 15th day of May, 2023 at 4:26 pm to be served on OFFICER JAKUB TARLECKI,
NASSAU COUNTY POLICE DEPARTMENT HEADQUARTERS, 1490 FRANKLIN AVENUE, MINEOLA, NY 11501.

i, Victor Rawner, being duly sworn, depose and say that on the 18th day of May, 2023 at 10:05 am, I:

Served a SUITABLE AGE PERSON by delivering a true copy of the SUMMONS IN A CIVIL ACTION, CORRECTED SECOND AMENDED
COMPLAINT AND DEMAND FOR JURY TRIAL with OFFICER ALICE ROGERS FOR OFFICER JAKUB TARLECKI at NASSAU COUNTY POLICE

DEPARTMENT HEADQUARTERS, 1490 FRANKLIN AVENUE, MINEOLA, NY 11501.
Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United States of America.
Description of Person Served: Age: 65, Sex: F, Race/Skin Color: WHITE, Height: 5'7", Weight: 180, Hair: GREY, Glasses: Y

| certify that ! am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good ing, in the judicial circuit
in which the process was served.

/) Z Z : et
STATE OF NEW YORK CMA aii

)ss.:

  

 

: Victor Rawner
COUNTY OF QUEENS
Delta Court Service DCA#2094792-DCA
Subscribed and Sworn to before me on 87-67 148th Street
i 2~ 20 2nd Floor

5 A a . a as Jamaica, NY 11435

by the affiant whois personally kndwn to me. (718) 739-3020
2 bie ALers; ‘ .

NOTARY PUBLIC / Our Job Serial Number: DCS-2023002891

 

Ref: 1:20-cv-08924

 

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| NOTARY PUBLIC, STATE OF NEW YORK

| Registration No. 01RA6399729 |

| Qualified in Nassau County

| Commission Expires October 28, 2023
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